         Case 2:09-cr-00729-MAK Document 313 Filed 07/12/18 Page 1 of 2


                          IN T}IE, UNITED S'IATES DISTRICT COT]RT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                                                       CRIMINAL NO. 09-729

BIL,\L HUSSEIN HA}IDEN
ALI KASSEM EI,.SIBAI

           C;OVERNMENT'S MOTION TO DISMISS INDICTMENT
 AGAINST DEFENDANTS BILAL HUSSEIN HAMDEN AND ALI KASSEM EL-S IBAI

       Comes now the United States of America, by       William M. McSwain, United       States

Attorney for the Eastem District of Pennsylvania, and Nancy Beam Winter and Vineet Gauri,

Assistant United States Attomeys for the District, ard hereby requests the Court to dismiss the

indictment against defendant Bilal Hussein Hamden, who was charged with a single count of

interstate transportation ofstolen goods, in violation of 18 U.S.C. $ 2314 (Count 2), and     Ali

Kassem El-Sibai, who was charged with a single count of conspiracy to commit visa fraud,          in

violation of 1 8 U.S.C.   $ 371   (Count 33).

       In support of this request, the goverffnent avers that it has reviewed the available

evidence against defendants Bilal Hussein Hamden and         Ali   Kassem Et-Sibai and such evidence

no longer supports prosecution ofthese defendants in this matter. Accordingly, the govemment

respectfully requests that the Court dismiss with prejudice both lndictment No. 09-729-6 against

Bilal Hussein Hamden and Indictment No. 09-729-8 against Ali Kassem El-Sibai.

                                                Respectfu   lly submitted,


Dated: July lL ,2018                              ql^.-41
                                                WILLIAM M. MoSWAIN
                                                United States Attomey

                                                NANCY BEAM WINTER
                                                VINEET CAURI
                                                Assistant Unitcd States Attomeys
          Case 2:09-cr-00729-MAK Document 313 Filed 07/12/18 Page 2 of 2


                     IN THE UNITED STATES DISTRICT COTJRT

                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

                                                     CRIMINAL NO. 09-729

BILAL HUSSEIN HAMDEN
ALI KASSEM EL.SIBAI


                                            ORDER

        AND NOW, this             day   ofJuly, 2018, based upon the motion ofthe govemment,

it is hereby

                                            ORDERED

that

               (1)   Indictment No. 09-129-6 be DISMISSED WITH PREJUDICE against

                     defendant Bilal Hussein Hamden; and

               (2)   Indictment No. 09-729-8 be DISMISSED       WITH PREJUDICE       against

                     defendant   Ali   Kassem El-Sibai.




                                              BY THE COURT:



                                              HONORABLE MARK A. KEARNEY
                                              United States District Judge
